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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                                                       )
IN RE PHARMACEUTICAL INDUSTRY                          )   MDL NO. 1456
AVERAGE WHOLESALE PRICE                                )   Civil Action No. 01-12257-PBS
LITIGATION                                             )   Subcategory No. 07-12141-PBS
                                                       )   Subcategory No. 03-10643-PBS
                                                       )
THIS DOCUMENT RELATES TO:                              )
                                                       )   Judge Patti B. Saris
State of Iowa v. Abbott Laboratories, et al.           )
                                                       )
      and                                              )
The City of New York, et al. v. Abbott Laboratories,
                                                       )
Inc., et al.                                           )



                         CASE MANAGEMENT ORDER NO. __

        The case management orders entered in the above-referenced cases by this Court

on July 10, 2010 (Iowa) and August 30, 2010 (New York) are modified as follows:



                              ACTION                                        DEADLINE

All fact discovery sought by defendants shall be completed.
                                                                         February 18, 2011

Deposition of plaintiffs’ experts shall be completed.
                                                                          March 17, 2011

Defendants shall serve expert reports and other materials in
compliance with Fed. R. Civ. P. 26(a)(2)(B).                               April 14, 2011

Depositions of defendants’ experts shall be completed.
                                                                           May 31, 2011



         The parties, by agreement and without further motion, may extend the deadline

for completion of the discovery events shown above by no more than 30 days.
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All other provisions of prior case management orders remain unchanged.



       SO ORDERED

       ____________________                       ____________________________
                                                  PATTI B. SARIS
                                                  U.S. DISTRICT COURT JUDGE




                                          2
